{q\\ Case 2:04-cr-20234-.]P|\/| Document 155 Filed 06/22/05 Page 1 of 3 PagelD 214

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Plaintiff, )
)
vs. ) Crimina| No. 04- 0234 M1 0 3in
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eendant. ) Q.T r._ ,'\);_AW\ ‘/l,; .

 

 

MOT|ON TO RESET SENTENCING HEAR|NG

 

Comes now the United States by and through counsel Terrell L. Harris, United
States Attorney for the Western District of Tennessee, and moves the court to reset the

sentencing date currently scheduled for September 14, 2005 at 9:00 a.m.

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ln support of said motion, the United States submits the Assistant United States
Attorney has two previously set court hearings in Judge |\/lays’ courtroom on the same

day and time and Would respectfully request any other date that is convenient With the

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cou rt.

Respectfully submitted,

 

By:

 

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Stephen 6 Parker
Assistant United States Attorney
167 N. Main, Room 800
I'\/lemphis, TN 38103
(#012747 Tennessee)

Case 2:04-cr-20234-.]P|\/| Document 155 Filed 06/22/05 Page 2 of 3 PagelD 215

CERTlFlCATE OF SERVICE
|, Stephen C. Parker, Assistant United States Attorney for the Western District of
Tennessee, hereby certify that a copy of the foregoing Motion has been mailed, first

class postage pre-paid, to Bob |rby, 4345 East l\/lallory Avenue, l\/lemphis ,TN 38111.
/ 2
This _/; day of June, 2005.

_, c(
@tephen dParker
Assistant United States Attorney
167 N. Main, Room 800
Nlemphis, TN 38103

   
  

   

   

  
 

uNlTED `sATEs ISTRICT COURT - WESTERN D's'TRCT OFTENNESSEE

    

Notice of Distribution

This notice confirms a copy of the document docketed as number 155 in
case 2:04-CR-20234 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

Robert C. Irby

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1\/1emphis7 TN 38111

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

